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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                            *

       Plaintiff,                          *

v.                                         *       Case No.: 1:21-CV-00532-SAG

M&T BANK,                                  *

       Defendant.                          *

*      *       *     *       *     *       *       *     *      *       *      *       *

                                 ENTRY OF APPEARANCE

       Please enter the appearance of Michael B. Brown, Miles & Stockbridge P.C., as counsel

on behalf of the Defendant, M&T Bank, in the above-captioned case.




                                               /s/ Michael B. Brown
                                               Brian L. Moffet (Fed. Bar No. 13821)
                                               Michael B. Brown (Fed. Bar No. 19641)
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                               CERTIFICATE OF SERVICE

       I hereby certify that copies of the foregoing Entry of Appearance was mailed, first class,

postage prepaid, to Plaintiff Bryce Carrasco, 334 Ternwing Drive, Arnold, Maryland 21012.



                                            /s/ Michael B. Brown
                                            Michael B. Brown




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